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                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                    BID PROTEST

FMS INVESTMENT CORP., et al,                )
                                            )
                   Plaintiffs,              )
                                            )
        vs.                                 )
                                            )
UNITED STATES,                              )         No. 18-204C
                                            )         Judge Thomas C. Wheeler
                   Defendant,               )
                                            )
        and                                 )
                                            )
PERFORMANT RECOVERY, INC., et al,           )
                                            )
                   Defendant-Intervenors.   )
                                            )

  RESPONSE OF DEFENDANT-INTERVENOR WINDHAM PROFESSIONALS, INC.
                      TO MAY 7, 2018 ORDER

        In accordance with the Court’s Order of May 7, 2018 [Dkt. No. 190], Defendant-

Intervenor Windham Professionals, Inc. (“Windham”) provides the Court with notice that

Windham plans to oppose Defendant’s May 7, 2018 Motion to Dismiss [Dkt. No. 189].

Dated: May 11, 2018                             Respectfully submitted,

                                                /s/ David T. Ralston, Jr.

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